Case 2:Ol-CV-02780-SHI\/|-STA Document 310 Filed 08/19/05 Page 1 of 4 Page|D 340

 

Fil.ED BY _ D,Q_
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE _ _

WESTERN DIVISION DSAUG'Q AH 6'52

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THE CLARK CONSTRUCTION GROUP, INC., wm%§?§€§§é§wq

Plaintiff,
VS. NO. Ol-ZTSO-Ma

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER EXTENDING TIME TO RESPOND AND
GRANTING LEAVE TO EXCEED PAGE LIMITATION

 

Before the court is plaintiff’s August 8, 2005, consent
motion requesting an extension of time for all parties to file
responses to motions for summary judgment and requesting leave to
file memoranda in excess of the local rule page limitation. For
good cause shown, the motion is granted. The deadline for all
parties for filing responses to motions for summary judgment is
August lO, 2005, plaintiff may file memoranda in excess of twenty
pages.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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case 2:01-CV-02780 Was distributed by fax, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

